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                                                                                      FILED
                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF VIRGINIA
                                        Alexandria Division

                                                                                    HAY 2 V P
                                                                             CLERK US OiSTiUCl COURT
INTERSECTIONS INC.,                                                           ALEXANDRIA. VIRGINIA


and


NET ENFORCERS, INC.                                   Case No.

                    Plaintiffs,

               v.



JOSEPH C. LOOMIS,


and


JENNIM. LOOMIS

                    Defendants.



           PLAINTIFF INTERSECTIONS INC.'S FINANCIAL DISCLOSURE
                          UNDER LOCAL RULE 7.1


       Plaintiff, Intersections Inc., hereby makes the following financial disclosure pursuant to


Local Rule 7.1.


       Intersections Inc. is a business corporation organized and existing under the laws of the

State of Delaware.     Intersections Inc. has no parent entity.   Intersections Inc. has no affiliate


entities that have issued stock or debt securities to the public. There are no subsidiary entities of


Intersections, Inc. that have outstanding debt securities. There are no publicly held entities that


own 10% or more of Intersections Inc. stock.
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                                        Respectfully submitted,




Dated May 27,2009


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